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 Proposed Counsel for Debtors

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 IN RE:                                                 §
                                                        §
                                                        §
 WOODBRIDGE PARTNERS, LP, et al 1                       §             CASE NO. 24-41520
                                                        §
          Debtors.                                      §             (Jointly Administered)
                                                        §
                                                        §             Expedited Hearing Requested

     EMERGENCY JOINT MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
        AUTHORIZING DEBTORS TO USE CASH COLLATERAL, (II) GRANTING
       ADEQUATE PROTECTION, (III) MODIFYING THE AUTOMATIC STAY, AND
                      (IV) SETTING A FINAL HEARING

          Emergency relief has been requested. Relief is requested not later than
          5:00 p.m. on July 15, 2024. If you object to the relief requested or you believe
          that emergency consideration is not warranted, you must appear at the
          hearing if one is set, or file a written response prior to the date that relief is
          requested in the preceding paragraph. Otherwise, the Court may treat the
          pleading as unopposed and grant the relief requested.

          The above-referenced debtors and debtors-in-possession (each a “Debtor” and

 collectively, the “Debtors”) file this emergency motion (the “Motion”) with the Court for entry

 of interim and final orders pursuant to §§ 361, 362, 363, and 507 of title 11 of the United States

 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are as follows: Woodbridge Partners, L.P. (6716); Brentwood Nursery, Inc. (3393); Seville
 Farms, Inc. (6380); Integrated Botanics, LP (7617); GB2 Holdings, LLC (0872); and Hillister Farms, L.L.C. (5295).

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 Code (11 U.S.C. §§ 101 et seq., as amended, the “Bankruptcy Code”) and Rules 4001, 6004(h),

 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”): (i)

 authorizing Debtors to use cash collateral of Greater Nevada Credit Union (“GNCU”) under the

 terms and conditions set forth herein; (ii) granting adequate protection; (iii) modifying the

 automatic stay to the extent necessary to implement the relief requested herein; and (iv)

 scheduling a final hearing with respect to the relief requested herein (the “Final Hearing”). In

 support, Debtors show:

                             I.     JURISDICTION AND VENUE

        1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). Venue is

 proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.     The statutory and legal predicates for the relief requested herein are §§ 361, 362,

 363 and 507 of the Bankruptcy Code and Bankruptcy Rules 4001, 6004(h) and 9014.

                                    II.     BACKGROUND

 A.     General Procedural Background

        3.     On May 1, 2024 (“Petition Date”), Woodbridge Partners, L.P. (“Woodbridge”),

 Seville Farms, Inc. (“Seville”), Hillister Farms, L.L.C. (“Hillister”), GB2 Holdings, LLC

 (“GB2”), Brentwood Nursery, Inc. (“Brentwood”), and Integrated Botanics, LP (“IBOT”) each

 filed a voluntary petition for relief under Chapter 11 of Title 11 of the United States Code (the

 “Bankruptcy Code”). Debtors continue to manage and operate their businesses as debtors-in-

 possession pursuant to Bankruptcy Code §§ 1107 and 1108. On May 13, 2024, the Court entered

 its order jointly administering the Debtors cases for administrative purposes only. [Docket No.

 34].



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          4.    No trustee or examiner has been appointed in these bankruptcy cases. No official

 committee of unsecured creditors has been appointed.

 B.       Business Overview

          5.    The Debtors are a family owned wholesale greenhouse business providing high

 quality annuals, perennials and ground covers to garden centers across Texas for more than 25

 years.

          6.    The Debtors are all related entities and part of the Seville Farms business, now

 headquartered in Mansfield, Texas. Seville Farms operated the facilities across Texas with

 facilities located in Mansfield, Waxahachie, Schulenburg, Los Fresnos, Tyler and New

 Summerfield, among other places, to grow products and plants appropriate for the regional

 climate and temperature zones.

          7.    Woodbridge owns the real property and five facilities located in Mansfield,

 Waxahachie, Schulenburg, Los Fresnos and Tyler, Texas, used by Seville Farms, with

 Brentwood owning a portion of the real property (twenty (20) acres) located in Mansfield, Texas.

          8.    IBOT conducted growing operations out of the Mansfield location and focused on

 the production of starter plants used to grow finished goods for customers. Hillister operated a

 leased facility and had similar operations as Seville Farm. GB2 Holdings, LLC (“GB2”) serves

 as the general partner of a related entity, Quick Turn Merchandising, LP (“Quick Turn”) that

 provided support services to the Debtors.

 C.       Prepetition Indebtedness

          9.    Prior to the Petition Date, and as more fully set forth in the Declaration of

 William Brentlinger in Support of First Day Motions, Dkt. No. 18, which is fully incorporated

 herein by reference, Debtors entered into two loan agreements with Greater Nevada Credit Union



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 (“GNCU”), including: (a) that certain Loan Agreement and Promissory Note, dated August 16,

 2018, in the principal amount of $15,000,000, by and between GNCU as lender, and Seville,

 Woodbridge, Hillister, Brentwood, IBOT, GB2, Quick Turn, L.P., Robert Brentlinger and

 William Brentlinger as borrowers (the “GNCU/USDA Loan); and (b) that certain Business Loan

 Agreement and Note, dated August 16, 2018, in the original amount of $2,200,000, by and

 between GNCU as lender, and Seville, Hillister, Woodbridge, IBOT, and Quick Turn as

 borrowers, and Brentwood, Robert Brentlinger and William Brentlinger as guarantors (the

 “GNCU/SBA Loan“ and together with the GNCU/USDA Loan, the “GNCU Loans” and the

 GNCU Loans, together with all related credit and security documents, the “GNCU Loan

 Documents”). To secure payment of the GNCU Loans, the Debtors granted GNCU liens and

 security interests (collectively, the “GNCU Prepetition Liens”) in certain real and personal

 property including cash collateral (“Cash Collateral”) as defined in the various GNCU Loan

 Documents (the “Prepetition Collateral”).

        10.    Certain of the Debtors also entered into pre-petition loan agreements and security

 agreements with the U.S. Small Business Administration (“SBA”) and Iron Horse Credit, LLC

 “Iron Horse”). Specifically, Seville, Woodbridge, Hillister, Brentwood, IBOT, GB2 and Quick

 Turn as borrowers, Iron Horse as lender, and Robert Brentlinger and William Brentlinger as

 guarantors, entered into a Credit and Security Agreement, dated January 1, 2020 (as

 subsequently amended) in the maximum amount of $12,000,000 (the “Iron Horse Loan”).

 Pursuant to that certain Intercreditor and Subordination Agreement dated January 21, 2020,

 between Seville Farms, Hillister, IBOT, Brentwood, GB2, Woodbridge and Quick Turn, GNCU

 and Iron Horse, GNCU agreed that Iron Horse held a security interest in inventory senior to




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 GNCU, and Iron Horse agreed that GNCU held a security interest in equipment senior to Iron

 Horse.

          11.     Prior to the Petition Date, Seville also entered into that certain Loan Authorization

 and Agreement, and Promissory Note, dated May 17, 2020, as borrower, in the principal amount

 of $150,000, with SBA as lender (“SBA Disaster Loan”). In connection therewith, Seville

 executed that certain Security Agreement dated May 17, 2020, granting SBA a security interest

 certain personal property of Seville.

          12.     Prior to the Petition Date, the Debtors sold inventory and equipment with

 proceeds paid to either Iron Horse or GNCU as the respective senior secured lender as well as

 funding operational expenses in the ordinary course of business.

          13.     As of the Petition Date, none of the Debtors held any collateral relating to the

 SBA Disaster Loan or Iron Horse Loan that is of any material value and not otherwise subject to

 the senior lien of GNCU.2

 D.       Need for Use of Cash Collateral

          14.     Debtors need immediate access to their cash to pay employees on a post-petition

 basis and to pay for ordinary operational expenses. If Debtors are unable to pay employees and

 pay for continuing operating expenses, their ability to effectively maintain assets will be

 jeopardized.

                                     III.     REQUESTED RELIEF

          15.     By this Motion, the Debtors respectfully request authorization and approval,

 pursuant to §§ 361, 362, 363, and 507 of the Bankruptcy Code and Bankruptcy Rules 4001,

 6004(h) and 9014 to use Cash Collateral of GNCU to pay expenses in accordance with the


 2
          Any remaining inventory of Seville Farms has de minimis value. Remaining equipment of Seville Farms
 has a value of approximately $50,000.

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 proposed budget attached hereto as Exhibit A3 (the “Budget”) on an interim and final basis and,

 after a final hearing on a final basis in accordance with the proposed Interim and Final Orders

 attached hereto as Exhibits B and C4.

          16.      Without use of cash collateral, Debtors lack sufficient liquidity to meet ongoing

 obligations and will be unable to continue operations throughout these cases. Debtors intend to

 use cash collateral to fund payroll and operating expenses. Debtors’ estates will be immediately

 and irreparably harmed absent approval of the use of cash collateral to pay such ongoing and

 necessary expenses to support operations and maintain assets..

          17.      Debtors request that an interim hearing be set at the Court’s earliest convenience

 (the “Interim Hearing”) to consider entry of an interim cash collateral order. Debtors further

 request that a final hearing be set pursuant to Bankruptcy Rule 4001(c)(2) (the “Final Hearing”)

 to consider entry of a final order.

          IV.      STATEMENT PURSUANT TO BANKRUPTCY RULE 4001(b)(1)(B)

          18.      A summary of the proposed material terms of the use of Cash Collateral include

 the following and identify the material provisions of the Interim Order5:

          A.       Valid Prepetition Liens: The GNCU Prepetition Liens constitute valid and

 perfected liens on the Prepetition Collateral. See Interim Order, ¶ F.

          B.       Entities with Interests in the Cash Collateral: GNCU holds an interest in the

 Cash Collateral. See Interim Order, ¶ K.


 3
          The Budget does not include the actual amounts for professionals’ fees and expenses for May 2024. Such
 amounts are subject to the budgeted amounts included therein and shall be subject to further Court approval.
 4
          The Final Order will be supplemented in the near future. It will be in substantially the same form as the
 Interim Order.
 5
          The following summary and all other descriptions herein of the terms of the proposed order are provided
 for convenience only, and to the extent that the following summary and all other descriptions herein of the terms of
 the proposed interim and final orders are inconsistent, the terms of the interim and final cash collateral orders shall
 control. Capitalized terms not described in the following summary shall have the meanings ascribed to below in this
 Motion.

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        C.      Purpose for the Use of Cash Collateral: The Debtors require use of Cash

 Collateral to preserve the value of Debtors’ businesses, assets and properties, satisfy payroll

 obligations and other necessary working capital and general corporate purposes of the Debtors

 consistent with the Budget attached hereto as Exhibit A, and to pay necessary and reasonable

 fees incurred in connection with this Case. See Interim Order, ¶ M.

        D.      Adequate Protection: As adequate protection for the use of GNCU’s Cash

 Collateral, the proposed interim and final orders provide the following:

             (i)       Replacement Liens. Subject to any otherwise unavoidable and duly

        perfected liens existing on the Petition Date, GNCU is hereby granted continuing, valid,

        automatically perfected      nonavoidable    and   enforceable      replacement   liens   (the

        “Replacement Liens”), in and upon all of the assets (and proceeds thereof) of the Debtors

        described in the GNCU Loan Documents, including but not limited to, accounts

        receivable, and Cash Collateral, whether such property (or proceeds thereof) was owned

        on the Petition Date or acquired by any Debtor after the Petition Date (excluding all

        causes of action under chapter 5 of the Bankruptcy Code (the “Avoidance Actions”). The

        Replacement Liens granted herein: (a) are in addition to the GNCU Prepetition Liens; (b)

        are and shall be valid, perfected, enforceable, and effective as of the date of the entry of

        this Interim Order without further action by the Debtors or GNCU, and without the

        necessity of the execution, filing, or recordation of any financing statements, security

        agreements, mortgages, or other documents; (c) shall secure the payment of indebtedness

        to GNCU to the fullest extent of the law, of the Cash Collateral and any other GNCU

        Prepetition Collateral; and (d) except for ad valorem property taxes, shall not hereafter be

        subordinated to or made pari passu with any other lien or security interest arising after



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        the Petition Date under Bankruptcy Code section 364(d) or otherwise, absent the consent

        of GNCU. The Replacement Liens shall have the same priority as existed on the Petition

        Date.       If, however, GNCU, in its sole discretion, shall determine to file any such

        financing statements, mortgages, notices of lien or similar instruments, or to otherwise

        confirm perfection of such Replacement Liens, the automatic stay is hereby lifted to

        allow the filing and recording of a certified copy of this Interim Order or any such

        financing statements, mortgages notices of lien or similar instruments, and all such

        documents shall be deemed to have been filed or recorded on the date of this Interim

        Order. See Interim Order, ¶ 10(i).

            (ii)          Adequate Protection Superpriority Claims. As further adequate protection

        of the interests of GNCU in the GNCU Prepetition Collateral against any diminution in

        value of such interests caused by a failure of adequate protection under § 507(b) of the

        Bankruptcy Code, GNCU is granted, subject to the Carve-Out, as and to the extent

        provided by section 507(b) of the Bankruptcy Code, an allowed superpriority

        administrative expense claim in each Debtor’s Case and any Successor Cases (the

        “Adequate Protection Superpriority Claims”). See Interim Order, ¶ 10(ii).

            (iii)         Priority of the Adequate Protection Superpriority Claims. Except as set

        forth in the Interim Order, the Adequate Protection Superpriority Claims shall have

        priority over all administrative expense claims and unsecured claims against the Debtors

        or their estates, now existing or hereafter arising, of any kind or nature whatsoever;

        provided, however, that the Adequate Protection Superpriority Claims shall be subject to

        the Carve-Out. Notwithstanding any provisions of the Interim Order, no Adequate

        Protection Liens shall attach to, and no Adequate Protection Superpriority Claims shall



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        be recoverable from Avoidance Actions unless otherwise ordered by the Court. See

        Interim Order, ¶ 10(iii).

            (iv)       Payment of GNCU Costs and Expenses. All reasonable out-of-pocket

        costs and expenses of GNCU, including, without limitation, reasonable legal, accounting,

        collateral examination, monitoring and appraisal fees and disbursements, financial

        advisory fees, fees and expenses of other consultants, indemnification and reimbursement

        obligations with respect to fees and expenses, and other out of pocket expenses, shall be

        paid from the proceeds of the sales of the Collateral so long as the liquidated value of the

        Collateral exceeds the outstanding amount of the GNCU Loans as provided under §

        506(a) of the Bankruptcy Code. See Interim Order, ¶ 10(iv).

             (v)       Reporting. Debtors shall timely provide GNCU, the Committee, if

        appointed, and the U.S. Trustee with (a) a monthly report comparing actual collections

        and expenditures (by expense category) on a cash basis to those set forth in the Budget

        (a “Reconciliation Report”); (b) monthly financial statements to be delivered to GNCU

        not later than twenty (20) days after the conclusion of each month in which any Debtor

        uses Cash Collateral, (c) all documents and information submitted by Debtors to the

        United States Trustee, and (d) upon the reasonable request of GNCU, such other

        information pertaining to each Debtor’s operations, financial affairs, and the GNCU

        Prepetition Collateral. See Interim Order, ¶ 10(v). Access to Collateral. Upon the request

        of GNCU, the Debtors shall permit GNCU, respectively, reasonable access to the GNCU

        Prepetition Collateral and each Debtor’s books and records to conduct inspections and

        audits. See Interim Order, ¶ 10(vi).




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             (vi)       Successor Case. The adequate protection granted to GNCU in the Interim

        Order, including without limitation the Replacement Liens, shall be enforceable against

        the Debtors, their estates, and any successors thereto, including without limitation, any

        trustee or other estate representative appointed in this Chapter 11 case, any case under

        Chapter 7 of the Bankruptcy Code upon a conversion, or in any other proceeding

        superseding or related to any of the foregoing (collectively, the “Successor Case”). See

        Interim Order, ¶ 10(vii).

             (vii)      No Avoidance of Replacement Liens. The Replacement Liens shall not be

        subject to sections 510, 549, or 550 of the Bankruptcy Code and shall not be subject to

        subordination, impairment, or avoidance for all purposes in this Case and any Successor

        Case. See Interim Order, ¶ 10(viii).

        E.       Restrictions on Use of Cash Collateral: The Debtors are authorized to use Cash

 Collateral during the period from the Petition Date through and including the Termination Date

 subject to and solely in accordance with the terms, conditions, and limitations set forth in the

 Interim and the Budget, without further approval by this Court; provided that all use of cash by

 the Debtors shall be deemed to be made first from any cash that is not Cash Collateral and

 thereafter from the Cash Collateral. See Interim Order, ¶ 3.

        F.       Carve Out: GNCU has agreed to a Carve-Out of its Prepetition Collateral equal

 to the sum of the amounts provided for as follows (the “Carve-Out”): (a) all fees required to be

 paid to the clerk of the Court and to the Office of the U.S. Trustee under section 1930(a)(6) of

 title 28 of the United States Code; (b) all court-approved accrued and unpaid fees, disbursements,

 costs, and expenses (the “Allowed Professional Fees”) incurred by professionals or professional

 firms retained by the Debtors pursuant to sections 327, 328 or 363 of the Bankruptcy Code and



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 any statutory committee (each, a “Committee”) appointed in these chapter 11 cases pursuant to

 section 1103 of the Bankruptcy Code (collectively, the “Professionals” or “Professional

 Persons”), which Allowed Professional Fees: (i) are allowed by this Court, at any time, whether

 by interim order, procedural order, or otherwise; (ii) were incurred (regardless of when invoiced

 or applied for) on or after the Petition Date, and prior to the Termination Date (defined below),

 and (iii) are provided in the Approved Budget, with which the Debtors shall use reasonable best

 efforts to comply, or to which GNCU has otherwise expressly consented; and (c) Allowed

 Professional Fees of Professional Persons in an aggregate amount not to exceed $80,000.00 for

 all such Professionals, incurred after the first business day following delivery by GNCU of the

 Termination Notice (as defined herein), to the extent allowed at any time, whether by interim

 order, procedural order, or otherwise. All Carve-Out payments shall be subject to the provisions

 of 11 U.S.C. § 327, 11 U.S.C. § 329 and 11 U.S.C. § 330. Notwithstanding anything to the

 contrary in this Interim Order or any subsequent interim or final order relating to use of Cash

 Collateral, (a) the Carve-Out (including any amendment or modification thereto) shall be

 reduced dollar-for-dollar by such amount of Debtors’ post-petition net cash that the Court finds

 is proceeds of GNCU’s Prepetition Collateral; and (b) Allowed Professional Fees shall be paid

 only to the extent cash is available after (i) the sale of the Debtor’s real or personal property

 pursuant to a confirmed chapter 11 plan of reorganization and/or liquidation or section 363 of the

 Bankruptcy Code. GNCU reserves the right to object to any application for professional fees.

 See Interim Order, ¶ 5.

        G.      Termination on Use of Cash Collateral:          The Debtors’ right to use Cash

 Collateral on a consensual basis in the Interim (and Final) Order shall terminate (“Termination

 Date”) on the earliest of: (a) consummation of a plan of reorganization and/or liquidation in this



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 Case; (b) failure of the Debtor to file a plan of reorganization and/or liquidation by August 1,

 2024; or (c) upon written notice by GNCU to the Debtors after the occurrence and continuance of

 any of the following events (“Events of Default”) beyond any applicable grace period:

               (i)     Failure of the Debtors to comply in any material respect with the terms of

        the Interim Order and such failure continues without remedy for more than ten (10)

        business days after written notice thereof is provided to the Debtors as required herein;

               (ii)    Granting, creating, incurring or suffering to exist by any Debtor any liens

        or security interests other than: (A) those granted pursuant to the Interim Order; (B)

        carriers’, mechanics’, operator’s, warehousemen’s, repairmen’s or other similar liens

        arising in the ordinary course of business for amounts outstanding as of the Petition Date,

        even if recorded after the Petition Date; (C) pledges or deposits in connection with

        workers’ compensation, unemployment insurance and other social security legislation;

        (D) deposits to secure the payment of any post-petition statutory obligations, performance

        bonds and other obligations of a like nature incurred in the ordinary course of business;

        and (E) any other liens or security interests that are senior to the GNCU Prepetition

        Liens, unless GNCU otherwise consents;

               (iii)   Entry of any order reversing, amending, supplementing, staying, vacating

        or otherwise modifying the Interim Order without the written consent of GNCU;

               (iv)    Entry of an order granting relief from the automatic stay to the holder or

        holders of any security interest (other than GNCU) to permit foreclosure (or the granting

        of a deed in lieu of foreclosure or the like) on any material assets of any Debtor;

               (v)     From the Petition Date to the Termination Date, the creation of any claims

        or charges, or the entry of any order of this Court authorizing any claims or charges, other



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        than as permitted under the Interim Order, entitled to superpriority under section

        364(c)(1) of the Bankruptcy Code pari passu or senior to the GNCU Prepetition Loans,

        or there shall arise or be granted by this Court (A) any claim having priority over any or

        all administrative expenses of the kind specified in clause (b) of section 503 or clause (b)

        of section 507 of the Bankruptcy Code, including the 507(b) Claims, or (B) any lien on

        the GNCU Prepetition Collateral or Post-Petition Collateral having a priority senior to or

        pari passu with the liens and security interests granted herein, except as expressly

        provided in the Credit Agreement or in the Interim Order (but only in the event

        specifically consented to by GNCU), whichever is in effect;

               (vi)     Any filing by any Debtor of any motion, pleading, application or

        adversary proceeding challenging the validity, enforceability, perfection or priority of the

        GNCU Prepetition Liens securing the Pre-Petition Loans or asserting any other cause of

        action against and/or with respect to the Pre-Petition Loans or the GNCU Prepetition

        Collateral, except as to application of payments and payoff amounts due and owing

        thereunder;

               (vii)    Dismissing or converting this proceeding to a Chapter 7 case, or

        appointing a Chapter 11 Trustee with plenary powers, a responsible officer, or an

        examiner with enlarged powers relating to the operation of the businesses of the Debtors

        (powers beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code);

        provided that the appointment by this Court of a trustee or other fiduciary of any Debtor’s

        estate for the limited purpose of investigating, commencing or prosecuting Avoidance

        Actions on behalf any Debtor’s estate shall not constitute a default under this

        subparagraph;



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                (viii) Terminating or reducing by the Court the period pursuant to section 1121

        of the Bankruptcy Code during which any Debtor has the exclusive right to file a plan or

        plans and solicit acceptances thereof. See Interim Order, ¶ 12(i)-(viii).

        H.      Challenge Period: Notwithstanding the foregoing, and in accordance with the

 Complex Procedures, all parties in interest, other than the Debtors, shall have seventy-five (75)

 days from entry of this Interim Order, and as to an official committed appointed under 11 U.S.C.

 § 1102, no more than ninety (90) days from the Petition Date, to investigate, challenge and not

 be bound by the Debtors’ stipulations as to the validity and perfection of the GNCU Prepetition

 Liens on the Prepetition Collateral by filing a complaint or motion seeking authority to

 commence litigation as a representative of the estate. See Interim Order, ¶ 17.

                                  V.      BASIS FOR RELIEF

 A.     Debtors’ Request to Use Cash Collateral and Proposed Adequate Protection is
        Appropriate

        19.     Under § 363(c)(2) of the Bankruptcy Code, a debtor-in-possession may not use

 cash collateral without the consent of the secured party or approval from the Court upon a

 finding that the secured party’s interest can be adequately protected.        Section 361 of the

 Bankruptcy Code provides a non-exhaustive list of factors that may constitute adequate

 protection. A determination of adequate protection is decided on a case-by-case basis and

 involves a consideration of the “nature of the creditor’s interest in the property, [and] the

 potential harm to the creditor as a result of the property’s decline in value of the method of

 protection.” In re Braniff Airways, Inc., 783 F.2d 1283, 1286 (5th Cir. 1986).

        20.     Here, without authority to use the Cash Collateral of GNCU, Debtors will not

 have sufficient available sources of working capital to pay for normal operating expenses and

 thus will be unable to continue to operate and maintain assets. Without access to the use of Cash


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 Collateral, Debtors ability to manage, administer and preserve the Debtors’ estates would be

 immediately and irreparably harmed, thereby materially impairing the estates and creditors.

        21.     The disruption in the use of Cash Collateral will adversely affect the ability of

 Debtors to pay employees and utilities and would result in the loss of employees and diminished

 value of estate property including collateral securing the interests of various creditors. The use

 of Cash Collateral is critical to the Debtors in order to maintain assets.

        22.     The Budget provides for payment of maintenance and related costs, including

 Debtors’ professionals engaged in these chapter 11 cases. As long as secured creditors are

 adequately protected or consent, the use of the Cash Collateral to pay Debtors’ professionals is

 allowed. Here, GNCU is adequately protected and moreover, has consented to Debtors’ use of

 Cash Collateral pursuant to the Budget and proposed interim an final orders. Debtors’ use of the

 Cash Collateral of GNCU will not impact the liens or security interests of the other secured

 creditors, namely, SBA.

        23.     Section 361(2) of the Bankruptcy Code specifically provides that adequate

 protection may be provided by “providing to such entity an additional or replacement lien to the

 extent that such stay, use, sale, lease, or grant results in a decrease in the value of such entity’s

 interest in such property.” 11 U.S.C. §361(2); In re Gary L. Zars, 434 B.R. 421, 431 (W.D. Tex.

 2010) (“Adequate protection for such a creditor holding a secured interest or cash collateral

 would include . . . additional or replacement liens”).

        24.     GNCU is entitled, pursuant to Bankruptcy Code §§ 361 and 363(c) and (e), to

 adequate protection of its interests in the Prepetition Collateral, including Cash Collateral, equal

 to the aggregate diminution in value of its interests in the Prepetition Collateral. Accordingly,




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 Debtors seek to provide GNCU with the form of adequate protection provided in the Interim

 Order.

          25.   For this reason, the Court should approve Debtors use of cash collateral as

 outlined in the proposed cash collateral order.

 B.       The Automatic Stay should be Modified on a Limited Basis

          26.   The proposed Interim Order provides that the automatic stay shall be modified to

 (i) permit the Debtors to grant GNCU the Adequate Protection Liens and Adequate Protection

 Superpriority Claims; (ii) permit the Debtors to perform such acts as GNCU may reasonably

 request to assure the perfection and priority of the liens granted herein; (iii) permit the Debtors to

 incur all liabilities and obligations to GNCU under the interim and final orders; and (iv)

 authorize the Debtors to pay, and GNCU to retain and apply, payments made in accordance with

 the terms of the interim and final orders. Accordingly, the Court should modify the automatic

 stay to the extent contemplated in the proposed Interim Order and final order.

 C.       Immediate Access to Cash Collateral is Necessary

          27.   Federal Rules of Bankruptcy Procedure 4001(b) and 4001(c) provide that a final

 hearing on a motion to use cash collateral or may not be commenced earlier than fourteen days

 after the service of such motion. Upon request, however, the Court is empowered to conduct a

 preliminary emergency hearing on the motion and authorize the use of cash collateral or the

 obtaining of credit to the extent necessary to avoid immediate and irreparable harm to a debtor’s

 estate pending a final hearing. Debtors request that the Court conduct an emergency interim

 hearing on this motion to consider Debtors’ request that the Interim Order be entered. Debtors

 need to use cash collateral to pay payroll and other operating expenses.             The terms and

 conditions of the Budget are fair and reasonable and reflect the exercise of Debtors’ prudent



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 business judgment consistent with the fiduciary duties of a debtor-in-possession. The cash

 collateral that Debtors propose to spend in the Budget will be in an amount necessary to prevent

 the Debtors from suffering immediate and irreparable harm. Accordingly, Debtors request entry

 of the Interim Order as soon as possible after a hearing to be conducted within one day of the

 filing of this motion.

        28.        To implement the foregoing successfully, Debtors seek a waiver of the notice

 requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

 sale, or lease of property under Bankruptcy Rule 6004(h).

                                        VI.    CONCLUSION

        29.        Debtors request that the Court enter an order: (i) authorizing Debtors to use cash

 collateral in accordance with the terms and conditions set forth in this motion, the Budget, and

 the proposed Interim Order; (ii) scheduling a preliminary hearing on this motion at the Court’s

 earliest convenience (iii) scheduling a final hearing on this motion on a date that is not earlier

 than fourteen days following the filing of this Motion; (iv) waiving the notice requirements of

 Rule 6004(a) and the 14-day stay provided by Rule 6004(h); and (v) granting such further relief

 as appropriate.




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                                                  Respectfully submitted,

                                                  By: /s/ Nancy Ribaudo
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                                                      Katherine T. Hopkins
                                                      Texas Bar I.D. 24070737
                                                      katherine.hopkins@kellyhart.com
                                                      KELLY HART & HALLMAN LLP
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                                                      Fort Worth, Texas 76102
                                                      Telephone:    817/332-2500
                                                      Telecopy:     817/878-9774

                                                      Proposed Counsel for Debtors



                                 CERTIFICATE OF SERVICE

         I hereby certify that, on July 3, 2024, I caused to be served true and correct copies of the
 following documents via ECF notification, where available, and via First Class Mail upon all
 parties on the attached service list.

                                                      /s/ Katherine T. Hopkins
                                                      Katherine T. Hopkins




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Woodbridge Partners, L.P.
Case No. 24-41520-elm11
Special Notice List
06/21/24 3943462_1


U.S. TRUSTEE:                              United States Trustee
                                           1100 Commerce Street
                                           Room 976
                                           Dallas, TX 75202


DEBTOR’S SECURED CREDITORS:                Iron Horse Credit LLC                   Iron Horse Credit LLC
                                           6620 Southpoint Drive South, Ste. 230   Attn: Steven J. Garofalo
                                           Jacksonville, FL 32216-0964             9811 W. Charleston Blvd., Ste. 2-427
                                                                                   Las Vegas, NV 89117-7528


Small Business Administration              U.S. Small Business Administration      U.S. Small Business Administration
4300 Amon Carter Blvd.                     Office of Disaster Assistance           409 3rd St., SW
Suite 114                                  14925 Kingsport Rd.                     Washington, DC 20416-0002
Fort Worth, TX 76155-2652                  Fort Worth, TX 76155-2243


Arkansas Dept. of Finance and Admin.       Louisiana Dept. of Revenue              LSQ Funding Group, L.C.
2455 Washington Ave.,                      617 N. 3rd Street                       Attn: William Samuelson
Ste. 107                                   Baton Rouge, LA 70802                   2600 Lucien Way, Suite 100
Conway, AR 72032                                                                   Maitland, FL 32751


LSQ Funding Group, L.C.                    Mississippi Dept. of Revenue
Attn: General Counsel                      500 Clinton Center
315 E. Robinson St., Ste. 200              Clinton, MS 39056
Orlando, FL 32801


GREATER NEVADA CREDIT                      Greater Nevada Credit Union             Greater Nevada Credit Union
UNION:                                     Attn: Anastasi Jellum, P.A.             c/o Ross, Smith & Binford, P.C.
                                           14985 60th St. North                    Attn: Frances A. Smith
                                           Stillwater, MN 55082-6326               700 N. Pearl Street, Suite 1610
                                                                                   Dallas, TX 75201-7459

Greater Nevada Credit Union
Attn: Greater Comm. Lending Svcs.
451 Eagle Station Lane
Carson City, NV 89701-8402


20 LARGEST UNSECURED
CREDITORS FOR EACH DEBTOR:




SEVILLE FARMS:                             Alexander Plant Farm Inc.               AmeriGas - Arlington
                                           1214 Piney Woods Road                   PO Box 660288
                                           Alleyton, TX 78935                      Dallas, TX 75266-0288
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Aydani Wholesale Nursery LLC                 Ball Horticultural Company          BWI
700 Columbia Road 61                         Attn: Alene Mangino                 PO Box 990
Magnolia, AR 71753                           622 Town Road                       Nash, TX 75569
                                             West Chicago, IL 60185


Container Centralen, Inc.                    Del Norte Harvesting LLC            Harrell's LLC
855 East Plant Street, Suite 1200            518 West Columbia Ave.              ATTN: Bill Schoppman
Winter Garden, FL 34787                      Batesburg, SC 29006                 PO Box 935358
                                                                                 Atlanta, GA 31193-5358


Iron Horse Credit LLC                        Landmark Plastic Corp               McHutchison
6620 Southpoint Drive South, Suite 230       Attn: Joyce Vasilev                 Attn: Denise Pisaniello/Suzanne Kiefte
Jacksonville, FL 32216                       PO Box 742243                       PO Box 92170
                                             Atlanta, GA 30374-2243              Carol Stream, IL 60197-7229


Monrovia Nursery Company                     Nets Trailer Leasing of Texas LLC   P's Plant Farm, LLC
Attn: Lilliam Dixson                         1810 River Road                     6694 US HWY 79W
P.O. Box 101003                              Burlington, NJ 08016                Jacksonville, TX 75766
Atlanta, GA 30392-1003


Pindstrup Mosebrug A/S                       PLM Trailer Leasing, Inc.           Small Business Administration
Pindstrup, DK-8550                           LOCKBOX #776996                     Acct: xxxxxx402
Romgaard                                     350 E Devon Avenue                  409 3rd St., SW
Denmark                                      Itasca, IL 60143                    Washington, DC 20416


Triple P Farms, LLC                          TVI                                 Ball Horticultural Company
PO Box 366                                   178 Abbey St.                       c/o Joseph H. Huston, Jr.
New Summerfield, TX 75780                    Massapequa Park, NY 11762           Stevens & Lee
                                                                                 919 North Market St., Ste. 1300
                                                                                 Wilmington, DE 19801

INTEGRATED BOTANICS:                         ABAA Transportation                 Agrinomix
                                             1700 Martinique Dr.                 300 Creekside Dr.
                                             Mansfield, TX 76063-8546            Oberlin, OH 44074-1272



AmeriGas - Arlington                         Ball Horticultural                  Bellpark Horticulture
PO Box 660288                                622 Town Road                       Unit 120-19288-22nd Ave.
Dallas, TX 75266-0288                        ATTN: Kate Walsh                    Surrey BC V3Z 3S6 Canada
                                             West Chicago, IL 60185-2698


Blackmore Company Inc.                       BWI                                 CRS Supply Group
10800 Blackmore Ave.                         PO Box 990                          10103 Ullswater Cove
Belleville, MI 48111-2500                    Nash, TX 75569-0990                 ATTN: Clay Crider
                                                                                 Austin, TX 78750-3919


Equipment Depot                              Express Seed Company                Grower Direct Supply Inc.
PO Box 209004                                51051 US HWY 20                     Attn: East West Bank
Dallas, TX 75320-9004                        ATTN: Barb Gullet                   20607-1 Amar Road
                                             Oberlin, OH 44074-1253              Walnut, CA 91789-5049
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Helena Chemical Company                   Ivy Garth Seeds                     Labels Etc. Inc.
PO Box 846350                             8422 Mayfield                       P.O. Box 2701
Dallas, TX 75284-6350                     Chesterland, OH 44026-2524          Conroe, TX 77305



McHutchison                               Suez WTS Services USA, Inc.         United States Treasury
Attn: Denise Pisaniello                   4545 Patent Road                    Internal Revenue Service
PO Box 92170                              Norfolk, VA 23502-5604              Cincinnati, OH 45999-0009
Elk Grove Village, IL 60009-2170


Whitley Penn
640 Taylor St., Ste. 2200
Fort Worth, TX 76102-4845



WOODBRIDGE:                               Antonio ’Tony’ Yzaguirre, Jr.       Gary B. Barber
                                          Tax Assessor Cameron Cty Tax Ofc.   Smith County Tax - Assessor Collect
                                          P.O. Box 952                        P.O. Box 2011
                                          Brownsville, TX 78522-0952          Longview, TX 75602


Richard Rozier                            Richard Rozier                      Scott Porter
Tax Assessor Collector                    Tax Assessor Collector              Johnson County - Scott Porter
P.O. Box 836                              109 S. Jackson Rm T125              #2 Mill Street, Suite B PO Box 75
111 South Vail St.                        Waxahachie, TX 75165-3745           Cleburne, TX 76033-0075
La Grange, TX 78945-2843

Southland Property Tax Consultants        Wendy Burgess                       Whitley Penn LLP
421 W. 3rd St., Suite 920                 Tax-Assessor-Collector              Attn Reyne Dvorak
Fort Worth, TX 76102-3752                 P.O. Box 961018                     640 Taylor St
                                          Fort Worth, TX 76161-0018           Suite 2200
                                                                              Fort Worth TX 76102-4845

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                                          6620 Southpoint Drive South,        Attn: Reyne Dvorak
                                          Suite 230                           640 Taylor St., Suite 2200
                                          Jacksonville, FL 32216-0964         Fort Worth Tx 76102-4845


GB2:                                      Arkansas Dept. of Finc. & Admin.    Louisiana Dept. of Revenue
                                          2455 Washington Ave., Ste. 107      617 N. 3rd Street
                                          Conway, AR 72032-2732               Baton Rouge, LA 70802-5432



New Mexico Tax. & Revenue Dept.           Oklahoma Tax Commission             Iron Horse Credit LLC
1220 S. Saint Francis Dr., Ste. 220       General Counsel S Office            6620 Southpoint Drive South, Suite 230
Santa Fe, NM 87505-4226                   100 N Broadway Ave Suite 1500       Jacksonville, FL 32216-0964
                                          Oklahoma City Ok 73102-8601


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Fort Worth TX 76102-4845
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                                                                                     Jacksonville, FL 32216-0964

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Revenue Accounting Div - Bankr. Section       TEC Building Bankruptcy                409 3rd St., SW
PO Box 13528                                  101 East 15th Street                   Washington, DC 20416-0002
Austin TX 78711-3528                          Austin, TX 78778-0001


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Austin, TX 78711-2548

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